         Case 5:12-cv-01341-G Document 556 Filed 09/29/21 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

                                            )
IN RE SANDRIDGE ENERGY, INC.                )         Case No. CIV-12-1341-G
SECURITIES LITIGATION                       )
                                            )

                                        ORDER

      Now before the Court is Defendant SandRidge Energy Inc.’s Motion to Dismiss

(Doc. No. 536).    Plaintiffs responded in opposition (Doc. No. 538), and Defendant

SandRidge Energy replied (Doc. No. 540). On September 24, 2021, the parties appeared

telephonically for hearing on the Motion.

      SandRidge Energy moves to be dismissed on the basis that the available funds in

the applicable insurance policies—the sole source of funds against which Plaintiffs can

recover—have been exhausted.

      There is no dispute that the Bankruptcy Court for the Southern District of Texas

limited SandRidge Energy’s liability in this action to the remaining coverage under

applicable insurance policies.1 Supported by an attached Declaration from its Chief

Financial Officer and Chief Accounting Officer, Salah Gamoudi (Doc. No. 536-2), and an

excerpted email chain attached to its Reply that purports to show correspondence with

AXIS Insurance North America (Doc. No. 540-1), SandRidge Energy now asserts that “the




1
 See Amended Order Confirming the Amended Joint Chapter 11 Plan of Reorganization
of SandRidge Energy Inc. and Its Debtor Affiliates, In re SandRidge Energy Inc., Case No.
16-32488 (Bankr. S.D. Tex. Sept. 20, 2016), Doc. No. 901.
          Case 5:12-cv-01341-G Document 556 Filed 09/29/21 Page 2 of 3




available remaining coverage under applicable insurance policies has been exhausted.”

Mot. at 4 (internal quotation marks omitted).

       SandRidge Energy does not state in its papers the procedural basis in the Federal

Rules of Civil Procedure for its motion to dismiss. When questioned at the September 24,

2021 hearing about the rule that would support its motion, SandRidge Energy stated that it

is moving pursuant to Federal Rule of Civil Procedure 12(c) for judgment on the pleadings.

A motion for judgment on the pleadings should not be granted “unless the moving party

has clearly established that no material issue of fact remains to be resolved and the party is

entitled to judgment as a matter of law.” Park Univ. Enters., Inc. v. Am. Cas. Co. of

Reading, PA, 442 F.3d 1239, 1244 (10th Cir. 2006), abrogated on other grounds.

SandRidge Energy’s Motion does not challenge the merits of Plaintiffs’ claims or seek

judgment in its favor as a matter of law. SandRidge Energy instead asks the Court to

endorse its factual position, which is contested, that there are no funds available for

Plaintiffs to recover if they prevail on the merits and seek to enforce a judgment. This is

not a proper basis for a Rule 12(c) motion for judgment on the pleadings.

       SandRidge Energy’s Motion to Dismiss is therefore DENIED. This Order is

without prejudice to SandRidge Energy bringing a dispositive motion on other grounds if

it believes there is legal authority and a proper procedural basis to do so.2




2
  SandRidge Energy also stated at the hearing that it has no objection to its Motion being
converted to a motion for summary judgment and to Plaintiffs being allowed to file a
supplemental response after conducting discovery regarding the availability of insurance
funds. The Court declines to order conversion of SandRidge Energy’s Motion as it does.

                                              2
         Case 5:12-cv-01341-G Document 556 Filed 09/29/21 Page 3 of 3




      IT IS SO ORDERED this 29th day of September, 2021.




not follow the requirements of Local Civil Rule 56.1 (W.D. Okla.) for presentation of a
motion for summary judgment.


                                          3
